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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------x
  In re:                                                         :
                                                                 :
                                                                 :
  Certa Dose, Inc,                                               :   Chapter 11
                                                                 :   Case No. 21-11045 (LGB)
                                                                 :
                                      Debtor.                    :
  ---------------------------------------------------------------x

                                            SCHEDULING ORDER

         The parties cannot amend this order by stipulation or otherwise, and the Court will
  not amend it unless presented with good cause and timely application as soon as possible.
  FAILURE TO COMPLY WITH THIS ORDER MAY RESULT IN SANCTION. If
  delay or other act or omission may result in a sanction against you, it is incumbent on you
  to promptly bring this matter to the Court for relief.

  It is hereby ORDERED as follows:

      1. Parties shall serve discovery requests by 5:00 p.m. (ET) on July 19, 2021 in
         connection with the Motion of COPIC Insurance Company, Pursuant to 28 U.S.C.
         § 1412 and Fed. R. Bankr. P. 1014(a)(2) to Transfer Venue to the United States
         Bankruptcy Court for the District of Colorado docketed at ECF No. 36 (the
         “Motion”).

      2. The Debtor shall file a supplemental declaration and/or amended schedules to
         address the Court’s requests for additional information in connection with the
         Motion by 5:00 p.m. (ET) on July 23, 2021.

      3. Parties shall respond to the discovery requests by 5:00 p.m. (ET) on August 2,
         2021.

      4. The parties’ deposition of witnesses shall begin on August 16, 2021 and shall
         conclude by the end of the day on August 27, 2021.

      5. In the event of dispute over discovery, the parties' counsel shall promptly confer to
         attempt in good faith to resolve the dispute. If, notwithstanding their good faith
         efforts to do so, they are unable to resolve a discovery issue, they shall promptly
         inform the Court by correspondence to Chambers of the nature of the dispute and
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           request a telephonic discovery conference. At the conference, the Court will ask
           the parties about their prior efforts to resolve the dispute.

     6. The Court will hold an evidentiary hearing on Zoom on September 1-2, 2021, at
        10:00 a.m. (ET) (the “Hearing Date”). In the event the parties stipulate to adjourn
        the hearing, the parties shall promptly inform the Court by correspondence to
        Chambers no later than 2 (two) days in advance of the Hearing Date. Parties shall
        abide by deadlines indicated in Chambers’ Rules for evidentiary hearings and trials
        ahead of the Hearing Date including with respect to all of the exhibits to be
        introduced into evidence or otherwise utilized at the evidentiary hearing and all
        direct testimony which must be filed with the Court in the form of a declaration,
        except that the parties shall exchange pre-marked exhibits (other than those
        intended to be used for rebuttal or impeachment) no less than five (5) days before
        the Hearing Date.

  Dated:     July 15, 2021
             New York, New York


                                               /s/ Lisa G. Beckerman_______
                                               Hon. Lisa G. Beckerman
                                               United States Bankruptcy Judge




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